            Case 1:24-cv-03343-RML Document 4 Filed 05/06/24 Page 1 of 3 PageID #: 31

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      TARA MAHONEY                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:24-cv-03343-RML
                                                                     )
     VETERAN HOLDINGS NY LLC, VETERANS                               )
     CENTER NY LLC AND MT VETERANS LLC                               )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) VETERAN HOLDINGS NY LLC
                                           5308 13TH AVE, STE 593
                                           BROOKLYN, NY 11219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Glen H. Parker, Esq.,
                                           The Parker Law Group P.C.,
                                           28 Valley Road
                                           Montclair, New Jersey 07042
                                           Tel: 347-292-9042
                                           ghp@parkerlawusa.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:    05/06/2024                                                           s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:24-cv-03343-RML Document 4 Filed 05/06/24 Page 2 of 3 PageID #: 32

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      TARA MAHONEY                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:24-cv-03343-RML
                                                                     )
     VETERAN HOLDINGS NY LLC, VETERANS                               )
     CENTER NY LLC AND MT VETERANS LLC                               )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) VETERANS CENTER NY LLC
                                           4403 15TH AVE, STE 530
                                           BROOKLYN, NY 11219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Glen H. Parker, Esq.,
                                           The Parker Law Group P.C.,
                                           28 Valley Road
                                           Montclair, New Jersey 07042
                                           Tel: 347-292-9042
                                           ghp@parkerlawusa.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:    05/06/2024                                                           s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:24-cv-03343-RML Document 4 Filed 05/06/24 Page 3 of 3 PageID #: 33

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      TARA MAHONEY                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:24-cv-03343-RML
                                                                     )
     VETERAN HOLDINGS NY LLC, VETERANS                               )
     CENTER NY LLC AND MT VETERANS LLC                               )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MT VETERANS LLC
                                           c/o MARK J. NUSSBAUM
                                           225 BROADWAY, 39TH FLOOR
                                           NEW YORK, NY 10007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Glen H. Parker, Esq.,
                                           The Parker Law Group P.C.,
                                           28 Valley Road
                                           Montclair, New Jersey 07042
                                           Tel: 347-292-9042
                                           ghp@parkerlawusa.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:    05/06/2024                                                           s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
